12-12020-mg   Doc 6061-3 Filed 12/10/13 Entered 12/10/13 17:36:54   Exhibit B -
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                                  Exhibit B
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                                                                               Number         Number
  Debtor Name and Case No.              Class   Class Description             Accepting       Rejecting   Amount Accepting    Amount Rejecting   Result
  ditech, LLC                           GS-3    Junior Secured Notes Claims      88               0       $2,108,293,845.56        $0.00
  Case No. 12-12021                                                                                                                              Accept
                                                                              100.00%          0.00%          100.00%              0.00%
  GMAC Mortgage USA                     GS-3    Junior Secured Notes Claims      88               0       $2,108,293,845.56        $0.00
  Corporation                                                                 100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12031
  GMAC Mortgage, LLC                    GS-3    Junior Secured Notes Claims      88               0       $2,108,293,845.56        $0.00
  Case No. 12-12032                                                                                                                              Accept
                                                                              100.00%          0.00%          100.00%              0.00%
  GMACR Mortgage Products,              GS-3    Junior Secured Notes Claims      88               0       $2,108,293,845.56        $0.00
  LLC                                                                         100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12037
  Home Connects Lending                 GS-3    Junior Secured Notes Claims      88               0       $2,108,293,845.56        $0.00
  Services, LLC                                                               100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12039
                                        GS-3    Junior Secured Notes Claims      88               0       $2,108,293,845.56        $0.00
  Passive Asset Transactions, LLC                                             100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12044
  Residential Consumer Services,        GS-3    Junior Secured Notes Claims      88               0       $2,108,293,845.56        $0.00
  LLC                                                                         100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12058
  Residential Mortgage Real Estate      GS-3    Junior Secured Notes Claims      88               0       $2,108,293,845.56        $0.00
  Holdings, LLC                                                               100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12063
  GMAC Residential Holding               R-3    Junior Secured Notes Claims      88               0       $2,108,293,845.56        $0.00
  Company, LLC                                                                100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12033
  GMAC-RFC Holding Company,              R-3    Junior Secured Notes Claims      88               0       $2,108,293,845.56        $0.00
  LLC                                                                         100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12029
  Residential Capital, LLC               R-3    Junior Secured Notes Claims      88               0       $2,108,293,845.56        $0.00
                                                                              100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12020
                                        RS-3    Junior Secured Notes Claims      89               0       $2,109,142,830.05        $0.00
  DOA Holding Properties, LLC                                                 100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12022
  GMAC Model Home Finance I,            RS-3    Junior Secured Notes Claims      89               0       $2,109,142,830.05        $0.00
  LLC                                                                         100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12030
  Homecomings Financial Real            RS-3    Junior Secured Notes Claims      89               0       $2,109,142,830.05        $0.00
  Estate Holdings, LLC                                                        100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12040


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                                                                               Number         Number
  Debtor Name and Case No.              Class   Class Description             Accepting       Rejecting   Amount Accepting    Amount Rejecting   Result
                                        RS-3    Junior Secured Notes Claims      89               0       $2,109,142,830.05        $0.00
  Homecomings Financial, LLC                                                  100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12042
  RCSFJV2004, LLC                       RS-3    Junior Secured Notes Claims      89               0       $2,109,142,830.05        $0.00
                                                                                                                                                 Accept
  Case No. 12-12051                                                           100.00%          0.00%          100.00%              0.00%
  Residential Funding Company,          RS-3    Junior Secured Notes Claims      89               0       $2,109,142,830.05        $0.00
  LLC                                                                         100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12019
  Residential Funding Real Estate       RS-3    Junior Secured Notes Claims      89               0       $2,109,142,830.05        $0.00
  Holdings, LLC                                                               100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12062
                                        RS-3    Junior Secured Notes Claims      89               0       $2,109,142,830.05        $0.00
  RFC Asset Holdings II, LLC                                                  100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12065
                                        RS-3    Junior Secured Notes Claims      89               0       $2,109,142,830.05        $0.00
  RFC Asset Management, LLC                                                   100.00%          0.00%          100.00%              0.00%         Accept
  Case No. 12-12066
  RFC SFJV-2002, LLC                    RS-3    Junior Secured Notes Claims      89               0       $2,109,142,830.05        $0.00
  Case No. 12-12071
                                                                                                                                                 Accept
                                                                              100.00%          0.00%          100.00%              0.00%




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